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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

 Nancy Wheeler Brewster; David Lee; Larry
 Geanes; Eric M. Harlston; Reginald E. Harris;
 Mervin Howard; Gwendolyn Jackson; Andrea
 Logan; Charles Longstreet; Lyndell Luster;
 David Robertson; Kimberly K. Smith,

                        Plaintiffs,
                                                     Case No. 16 C 10904
 v.
                                                     Honorable Judge Sharon Johnson Coleman
 Northeast Illinois Regional Commuter Railroad
 Corporation, d/b/a Metra; Joseph M. Perez,
 Harold Fuller; Bryan Mack; Paul Riggio; Steven
 Alvarado; Brian Peters; Glenn M. Treckler; Carl
 Anderson; and Art Olsen,

                        Defendants.


           DEFENDANTS’ RESPONSE TO PLAINTIFFS’ COUNSEL’S OBJECTION TO
                  DEFENDANT’S PETITION FOR COURT ORDERED
                        ATTORNEY’S FEES AND SANCTIONS

        Defendants, Northeast Illinois Regional Commuter Railroad Corporation, d/b/a Metra, Joseph Mr.

Perez, Harold Fuller, Bryan Mack, Paul Riggio, Steven Alvarado, Brian Peters, Glen Treckler, Carl Anderson

and Art Olsen, by their attorney Minya L. Coleman, Metra Law Department, for their response to Plaintiffs’

Counsel’s Objection to Defendants’ Petition for Court Ordered Attorney’s Fees and Sanctions, state as

follows:

        On October 22, 2018, this Court granted, in part, defendants’ motion for fees and sanctions pursuant

to 28 U.S.C. § 1927 finding that plaintiffs’ counsel vexatiously multiplied this litigation by pursuing frivolous

claims after being put on notice. [Dkt. 57]. On January 22, 2019, Defendants filed their Petition for Court

Ordered Attorney Fees and Sanctions totaling $29,760.40. [Dkt. 83]. In accordance with this Court’s February

4, 2019 Order [Dkt. 90], Plaintiffs’ counsel filed her objections to Defendants’ Petition for Court Ordered

Attorney’s Fees and Sanctions. [Dkt.91].       At the onset, Counsel’s submission contains one objection to
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Defendants’ petition. Specifically, Counsel objects to the alleged “double billing by outside counsel on May

23, 2017 and May 31, 2017.” [Dkt. 91, pp. 3]. A review of the relevant billing entries for those dates does not

show any “double billing” by outside counsel (See attached excerpts from Exhibit A of Defendants’ Petition

for Court Ordered Fees). On those dates, Defendants’ counsel April Walkup and Matthew Kaminski both

reviewed the Second Amended complaint and did research on different topics as reflected in their billing

descriptions. It is not improper for the court to allow attorney fees for multiple attorneys working on the same

case where the description of work is specified. See The Northeast Ohio Coalition for the Homeless v. Husted, 831

F.3d 686, 704-705 (6th Cir. 2016)(“Multiple lawyer litigation is common and not inherently unreasonable.”).

Plaintiff’s counsel objections to these fees is generalized and does not point to any grounds why these fees

are unreasonable. Counsel’s objection to these fees should be rejected.

        Further, Counsel’s objection contends that Defendants impermissibly invoked the use of Local Rule

54.3, Attorney Fees and Related Non-taxable Expenses, as the framework governing the parties’ relative submissions

for petition of fees and objections. [Dkt. 91, pp.3]. However, the applicability of the rule to the submissions

is inconsequential to both, the Defendants’ underlying duty to submit an accounting of the relative attorney

fees and sanctions ordered by this Honorable court under § 1927 and Plaintiffs’ counsel duty to set forth any

objections thereto. As such, Plaintiff’s contention of the inapplicability of the submission timeframe provided

in Local Rule 54.3 should be disregarded.

        WHEREFORE, the Defendants, Northeast Illinois Regional Commuter Railroad Corporation, d/b/a

Metra; Joseph M. Perez, Harold Fuller; Bryan Mack; Paul Riggio; Steven Alvarado; Brian Peters; Glenn M.

Treckler; Carl Anderson; and Art Olsen, respectfully request this Honorable Court enter an order granting

Defendants’ Petition for Court Ordered Attorney Fees and Sanctions in the amount of $29,760.40, and for

any further relief it deems appropriate.



                                                By:      /s/ Minya L. Coleman
                                                         Minya L. Coleman
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